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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


METH LAB CLEANUP, LLC,

      Plaintiff,

v.                                                        Case No: 8:14-cv-3129-T-30TBM

SPAULDING DECON, LLC and
LAURA SPAULDING,

      Defendants.


                                        ORDER

      THIS CAUSE is before the Court on Plaintiff/Counter-Defendant Meth Lab

Cleanup, LLC's Motion for Reconsideration (Dkt. 79). The motion asks the Court to

reconsider a July 23, 2015 order that granted Meth Lab Cleanup partial summary judgment.

In that order, the Court held that Defendants’ use of the phrase “Meth Lab Cleanup”—so

spelled and capitalized—was a violation of a settlement agreement the parties had

previously entered into. The Court also held that the phrase “meth lab cleanup”—so spelled

and capitalized—did not violate the parties’ agreement.

      Now Meth Lab Cleanup, LLC argues that the parties’ settlement agreement, and this

Court’s summary judgment order, relied on misrepresentations made by Defendant Laura

Spaulding regarding the presence of the phrase “meth lab cleanup” on Defendants’ website.

To support its contention that Defendant Spaulding made these misrepresentations,

Plaintiff relies on an internet archive service, known as the “Wayback Machine,” and
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screen shots and website data the Machine captured from May of 2011. The data collected,

Meth Lab Cleanup argues, proves that Defendant Spaulding made misrepresentations that

warrant reconsideration of the Court’s previous order.

       This argument fails. Assuming the “Wayback Machine” is accurate, and that its data

capture of May 2011 supports Meth Lab Cleanup’s much broader contention about

Defendant Spaulding’s misrepresentations, the Court in its summary judgment order did

not rely on Defendant Spaulding’s assertions about the presence or absence of a phrase on

a website, but on what the parties agreed was on that website. The agreement still controls.

       The Court has examined the motion and the relevant evidence and law. The motion

will be denied.

       ORDERED AND ADJUDGED that:

       1.     Plaintiff/Counter-Defendant Meth Lab Cleanup, LLC’s Motion for

Reconsideration (Dkt. 79) is DENIED.

       DONE and ORDERED in Tampa, Florida, this 9th day of February, 2016.




Copies furnished to:
Counsel/Parties of Record




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